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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     IN RE GOOGLE RTB CONSUMER                          Case No. 21-cv-02155-YGR (VKD)
                                         PRIVACY LITIGATION
                                   8                                                        ORDER RE SEALING RE
                                                                                            PLAINTIFFS’ ADMINISTRATIVE
                                   9                                                        MOTION FOR LEAVE TO PROVIDE
                                                                                            COURTESY COPIES
                                  10                                                        Re: Dkt. Nos. 666, 675
                                  11

                                  12          On February 2, 2024, plaintiffs requested leave to provide copies of a Court order and a
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                                  13   hearing transcript from another case, Calhoun v. Google, No. 21-cv-05146 (N.D. Cal.), in support

                                  14   of a pending discover dispute. Dkt. No. 667. In conjunction with this request, plaintiffs filed an

                                  15   administrative motion to consider whether another parties’ material should be sealed, submitting

                                  16   the motion for leave and accompanying exhibits under seal in their entirety. Dkt. No. 666. On

                                  17   February 16, 2024, Google filed its response to this sealing motion, affirming its position that the

                                  18   documents should be sealed and providing clarifications as to which specific portions should be

                                  19   redacted from the public record. Dkt. No. 675.

                                  20          There is a strong presumption in favor of access by the public to judicial records and

                                  21   documents accompanying dispositive motions that can be overcome only by a showing of

                                  22   “compelling reasons supported by specific factual findings.” Kamakana v. City & Cnty. of

                                  23   Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006) (cleaned up). However, the presumption does

                                  24   not apply equally to a motion addressing matters that are only “tangentially related to the merits of

                                  25   a case.” Ctr. for Auto Safety v. Chrysler Group, LLC, 809 F.3d 1092, 1101 (9th Cir. 2016). A

                                  26   party seeking to seal documents or information in connection with such a motion must meet the

                                  27   lower “good cause” standard of Fed. R. Civ. P. 26(c). Id. at 1098-99; Kamakana, 447 F.3d at

                                  28   1179-80. The discovery matters at issue here do not address the merits of either party’s claims or
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                                   1   defenses, so the Court applies the “good cause” standard of Rule 26(c).

                                   2          In its response to plaintiffs’ sealing motion, Google asserts that good cause exists for

                                   3   granting the sealing request. See Dkt. No. 675. Google argues that the documents “contain highly

                                   4   sensitive, confidential, and proprietary information regarding the technical details of Google’s

                                   5   internal logs, data systems, and their metrics.” Dkt. No. 675 at 2. Release of such information

                                   6   would pose “a risk of cyber security threats” and “further jeopardize Google’s data infrastructure.”

                                   7   Id. at 5. Google additionally asserts that the exhibits attached to plaintiffs’ motion for leave are

                                   8   already under seal in the Calhoun litigation. Id. at 2. It further states, in regard to sealing portions

                                   9   of plaintiffs’ motion for leave and declaration, that the Court in this matter “has already sealed

                                  10   [the] information” for which it is seeking redaction. Id. (citing Dkt. No. 384).

                                  11          The Court agrees that good cause exists to seal the specific portions of these documents

                                  12   Google has designated. The modified redactions Google proposes to make to the public versions
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                                  13   of these documents are minimal and narrowly tailored to address the concerns it identifies. See

                                  14   Civil L.R. 79-5(c)(3). In these circumstances, the Court concludes that Google has demonstrated

                                  15   good cause to seal the following material and the Court orders that it be sealed:

                                  16                   Document                                               Text to be Sealed

                                  17          Administrative Motion for Leave to Provide Courtesy         Portions of Dkt. No. 675-3
                                              Copies of Sealed Order Cited by Plaintiffs in the           highlighted at PDF pages
                                  18          Parties’ Joint Letter Brief re: Interrogatory No. 23        3:22-25, 4:12, 4:14-16
                                  19          (Dkt. No. 666-3)

                                  20

                                  21          Joint Declaration of Lesley E. Weaver, Jason ‘Jay’          Portions of Dkt. No. 675-5
                                              Barnes, and David A. Straite (Dkt. No. 666-4)               highlighted at PDF pages
                                  22
                                                                                                          3:16-18, 3:22, 4:4, 4:8-9,
                                  23                                                                      4:12, 4:14-15
                                              Ex. A to Joint Declaration (Dkt. No. 666-5)                 Portions of Dkt. No. 675-7
                                  24                                                                      highlighted at PDF pages
                                                                                                          5:25, 6:2, 6:12, 6:14-17,
                                  25                                                                      6:25-26, 8:6, 8:22, 9:20-21,
                                  26                                                                      9:28, 10:20, 11:22, 12:3,
                                                                                                          12:11-15, 13:4-5, 13:7-8,
                                  27                                                                      13:12, 13:15-16, 13:24, 16:1-
                                                                                                          2, 16:4-6, 17-66, 68-143
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                                              Ex. B to Joint Declaration (Dkt. No. 666-6)                Portions of Dkt. No. 675-9
                                   1
                                                                                                         highlighted at PDF pages
                                   2                                                                     5:22, 6:3, 6:11-15, 7-8

                                   3          Ex. C to Joint Declaration (Dkt. No. 666-7)                Portions of Dkt. No. 675-11
                                                                                                         highlighted at transcript pages
                                   4                                                                     7:12, 7:17, 7:24, 8:17-18,
                                                                                                         8:21, 9:5-12, 9:19, 10:17-21,
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                                                                                                         13:25, 14:1-9, 14:11-12,
                                   6                                                                     15:15, 15:23, 16:10-11, 16:20,
                                                                                                         17:2, 17:25, 18:7, 18:16, 19:4,
                                   7                                                                     20:12, 20:15, 21:10, 23:9,
                                                                                                         23:11-12, 25:13, 26:15, 29:4,
                                   8                                                                     29:25, 35:7, 35:19, 36:10,
                                                                                                         36:15, 37:7, 38:2, 38:12-13,
                                   9
                                                                                                         38:15, 38:17, 40:20, 40:23,
                                  10                                                                     44:23, 48:18, 49:4, 49:8,
                                                                                                         57:18
                                  11
                                                  Redacted versions of these documents are already available on the public docket. See Dkt.
                                  12
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                                       Nos. 675-2, 675-4, 675-6, 675-8, 675-10. Accordingly, no further action is required from the
 United States District Court




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                                       parties.
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                                                  IT IS SO ORDERED.
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                                       Dated: July 11, 2024
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                                  18                                                                 Virginia K. DeMarchi
                                                                                                     United States Magistrate Judge
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